                Case 8:23-bk-11587-SC                   Doc 1 Filed 08/04/23 Entered 08/04/23 14:52:13                                     Desc
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                EZ Pool Products, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  28241 Crown Valley Pkwy, #F212
                                  Laguna Niguel, CA 92677
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Orange                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.4ezpools.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    EZ Pool Products, Inc.                                                                       Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 4552

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
     A debtor who is a “small             Chapter 9
     business debtor” must check
                                          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
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Debtor    EZ Pool Products, Inc.                                                                          Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distr bution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
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Debtor   EZ Pool Products, Inc.                                                          Case number (if known)
         Name

                                  $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                                  $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                                  $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




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 Fill in this information to identify the case:

 Debtor name            EZ Pool Products, Inc.

 United States Bankruptcy Court for the:                       CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $            18,981.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $            18,981.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        1,011,325.63


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           1,011,325.63




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www bestcase.com
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Fill in this information to identify the case:

Debtor name      EZ Pool Products, Inc.

United States Bankruptcy Court for the:    CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                        Check if this is an
                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      No. Go to Part 2.
      Yes Fill in the information below.
   All cash or cash equivalents owned or controlled by the debtor                                                       Current value of
                                                                                                                        debtor's interest

Part 2:      Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.


Part 3:      Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.


Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
Official Form 206A/B                             Schedule A/B Assets - Real and Personal Property                                             page 1
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Debtor        EZ Pool Products, Inc.                                                 Case number (If known)
              Name


      Yes Fill in the information below.


Part 7:       Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.


Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.


Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                       Net book value of         Valuation method used   Current value of
                                                                     debtor's interest         for current value       debtor's interest
                                                                     (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites
           Website: 4ezpools.com (Dormant)
           Value per GoDaddy Domain Appraisals                                     $0.00       Appraisal                          $1,533.00


           Website: 4ezpools.org (Dormant)
           Value per GoDaddy Domain Appraisals                                     $0.00       Appraisal                            $107.00


           Website: 4ezpools.net (Dormant)
           Value per GoDaddy Domain Appraisals                                     $0.00       Appraisal                            $100.00


           Website: baptez.net (Dormant)
           Value per GoDaddy Domain Appraisals                                     $0.00       Appraisal                            $145.00


           Website: ezpools.biz (Dormant)
           Est. Value per GoDaddy Domain Appraisals                                $0.00       Appraisal                            $100.00


           Website: 4ezpools.info (Dormant)
           Est. Value per GoDaddy Domain Appraisals                                $0.00       Appraisal                            $100.00


           Website: ezpools.name (Dormant)
           Est. Value per GoDaddy Domain Appraisals                                $0.00       Appraisal                            $100.00

Official Form 206A/B                             Schedule A/B Assets - Real and Personal Property                                      page 2
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Debtor     EZ Pool Products, Inc.                                      Case number (If known)
           Name



         Website: ezpools.us (Dormant)
         Est. Value per GoDaddy Domain Appraisals                     $0.00    Appraisal               $100.00


         Website: portablepools.biz (Dormant)
         Est. Value per GoDaddy Domain Appraisals                     $0.00    Appraisal               $100.00


         Website: portablepools.info (Dormant)
         Est. Value per GoDaddy Domain Appraisals                     $0.00    Appraisal               $100.00


         Website: portablepools.name (Dormant)
         Est. Value per GoDaddy Domain Appraisals                     $0.00    Appraisal               $100.00


         Website: portablepools.us (Dormant)
         Est. Value per GoDaddy Domain Appraisals                     $0.00    Appraisal               $100.00


         Website: swimspas4less.com (Dormant)
         Value per GoDaddy Domain Appraisals                          $0.00    Appraisal               $141.00


         Website: ruffpool.com (Active)
         Value per GoDaddy Domain Appraisals                          $0.00    Appraisal           $1,385.00


         Website: baptEZ.com (Active)
         Value per GoDaddy Domain Appraisals                          $0.00    Appraisal           $1,623.00


         Website: thermapool.com (Active)
         Value per GoDaddy Domain Appraisals                          $0.00    Appraisal           $1,491.00


         Website: thermapools.com (Active)
         Value per GoDaddy Domain Appraisals                          $0.00    Appraisal           $1,252.00


         Website: 4ezpool.com (Active)
         Value per GoDaddy Domain Appraisals                          $0.00    Appraisal               $605.00


         Website: ezpools.org (Active)
         Value per GoDaddy Domain Appraisals                          $0.00    Appraisal           $1,398.00


         Website: aquakinesis (Active)
         Value per GoDaddy Domain Appraisals                          $0.00    Appraisal           $2,002.00


         Website: ezlappools.com
         Value per GoDaddy Domain Appraisals                          $0.00    Appraisal           $1,271.00


         Website: ezpools.info
         Value per GoDaddy Domain Appraisals                          $0.00    Appraisal               $100.00


         Website: baptEZ.com
         Value per GoDaddy Domain Appraisals                          $0.00    Appraisal           $1,623.00


Official Form 206A/B                    Schedule A/B Assets - Real and Personal Property                page 3
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Debtor        EZ Pool Products, Inc.                                                       Case number (If known)
              Name



           Website: floskim.com
           Value per GoDaddy Domain Appraisals                                           $0.00     Appraisal                          $1,191.00


           Website: Reallyezpools.com
           Value per GoDaddy Domain Appraisals                                           $0.00     Appraisal                          $1,794.00


           Website: Reallyezpools.org
           Value per GoDaddy Domain Appraisals                                           $0.00     Appraisal                            $100.00


           Website: Reallyezpools.net
           Value per GoDaddy Domain Appraisals                                           $0.00     Appraisal                            $120.00


           Website: Reallyezpools.us
           Value per GoDaddy Domain Appraisals                                           $0.00     Appraisal                            $100.00


           Website: ruffpools.com
           Value per GoDaddy Domain Appraisals                                           $0.00     Appraisal                            $100.00



62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                      $18,981.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                       page 4
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Debtor          EZ Pool Products, Inc.                                                                              Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                     $0.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                  $18,981.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                              $18,981.00          + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                  $18,981.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 5
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Fill in this information to identify the case:

Debtor name       EZ Pool Products, Inc.

United States Bankruptcy Court for the:       CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                       12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.




Official Form 206D                         Schedule D: Creditors Who Have Claims Secured by Property                                           page 1 of 1
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Fill in this information to identify the case:

Debtor name        EZ Pool Products, Inc.

United States Bankruptcy Court for the:         CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $63,251.35
          Chase Card Services                                                  Con ingent
          P.O. Box 15298                                                       Unliquidated
          Wilmington, DE 19850-5298                                            Disputed
          Date(s) debt was incurred 04/2021
                                                                            Basis for the claim: Business Credit Card
          Last 4 digits of account number 6061
                                                                            Is the claim subject to offset?       No     Yes

3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $17,680.39
          Citi Cards/Costco Business                                           Con ingent
          P.O. Box 6704                                                        Unliquidated
          Sioux Falls, SD 57104-6704                                           Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim: Business Credit Card
          Last 4 digits of account number 5688
                                                                            Is the claim subject to offset?       No     Yes

3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $47,064.00
          Fadia Gillebaard                                                     Con ingent
          24882 Vista Magnifica                                                Unliquidated
          Laguna Niguel, CA 92677                                              Disputed
          Date(s) debt was incurred 2022
                                                                            Basis for the claim: Shareholder loans
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $3,302.68
          Jason Smith                                                          Con ingent
          31 Wahoo Ave.                                                        Unliquidated
          Oroville, CA 95966
                                                                               Disputed
          Date(s) debt was incurred 6/24/2022
                                                                            Basis for the claim: Civil Judgment
          Last 4 digits of account number 0927
                                                                            Is the claim subject to offset?       No     Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 3
                                                                                                          38583
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Debtor      EZ Pool Products, Inc.                                                          Case number (if known)
            Name

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $0.00
         Michael J. Deem, Esq.                                        Contingent
         R. C. Shea & Associates
                                                                      Unliquidated
         P.O. Box 2627
         Toms River, NJ 08754                                         Disputed

         Date(s) debt was incurred 3/1/2021                        Basis for the claim: Attorney for Peter Economou
         Last 4 digits of account number 9121                      Notice Only
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $0.00
         Nicholas R. Deal                                             Con ingent
         Attorney at Law                                              Unliquidated
         321 D. Street, Suite C                                       Disputed
         Marysville, CA 95901
                                                                   Basis for the claim: Attorney for Jason Smith
         Date(s) debt was incurred 6/24/2022
                                                                   Notice Only
         Last 4 digits of account number 0927
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $28,971.21
         PayPal Working Capital                                       Con ingent
         Attn: Executive Escalation                                   Unliquidated
         P.O. Box 45950                                               Disputed
         Omaha, NE 68145-0950
                                                                   Basis for the claim: Guaranteed by Fadia
         Date(s) debt was incurred 8/2/2022
                                                                   Acct? 4EZP2LLC
         Last 4 digits of account number ?
                                                                   Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $45,000.00
         Peter Economou                                               Contingent
         68 Bucks Mill Road
                                                                      Unliquidated
         Colts Neck, NJ 07722-1619
                                                                      Disputed
         Date(s) debt was incurred 3/1/2021
         Last 4 digits of account number 9121                      Basis for the claim: Civil Judgment

                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $0.00
         Superior Court of New Jersey
         Monmouth County Courthouse                                   Con ingent
         MON-L-691-21                                                 Unliquidated
         71 Monument Street                                           Disputed
         Freehold, NJ 07728
                                                                   Basis for the claim: Notice Only
         Date(s) debt was incurred 3/1/2021
         Last 4 digits of account number 9121                      Is the claim subject to offset?     No       Yes


3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $493,656.00
         Theodor F. Gillebaard                                        Con ingent
         24882 Vista Magnifica                                        Unliquidated
         Laguna Niguel, CA 92677                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Shareholder Loans
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $312,400.00
         U.S. Small Business Administration                           Con ingent
         Attn: District Counsel                                       Unliquidated
         455 Market St., Suite 600                                    Disputed
         San Francisco, CA 94105
                                                                   Basis for the claim: EIDL Loan
         Date(s) debt was incurred 61/2020
         Last 4 digits of account number 7401                      Is the claim subject to offset?     No       Yes


Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 2 of 3
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            Name



Part 3:     List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                  related creditor (if any) listed?                account number, if
                                                                                                                                                   any
4.1       PayPal
          Swift Financial, LLC                                                                    Line     3.7
          3505 Silverside Rd.
                                                                                                         Not listed. Explain
          Wilmington, DE 19810

4.2       PayPal, Inc.
          2211 N. First Street                                                                    Line     3.7
          c/o Corporate Legal Dept.
                                                                                                         Not listed. Explain
          San Jose, CA 95131

4.3       Swift Financial, LLC
          c/o Amanda Garcia/1505 Corp.                                                            Line     3.7
          CT Corporation System
                                                                                                         Not listed. Explain
          330 N. Brand Blvd.
          Glendale, CA 91203-2308

4.4       WebBank
          215 S. State Street, Suite 1000                                                         Line     3.7
          Salt Lake City, UT 84111
                                                                                                         Not listed. Explain


Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                     Total of claim amounts
5a. Total claims from Part 1                                                                         5a.         $                          0.00
5b. Total claims from Part 2                                                                         5b.    +    $                  1,011,325.63

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                              5c.         $                    1,011,325.63




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 3 of 3
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Fill in this information to identify the case:

Debtor name       EZ Pool Products, Inc.

United States Bankruptcy Court for the:     CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
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Fill in this information to identify the case:

Debtor name      EZ Pool Products, Inc.

United States Bankruptcy Court for the:   CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Fadia Gillebaard            24882 Vista Magnifica                                     U.S. Small Business                D
                                      Laguna Niguel, CA 92677                                   Administration                     E/F       3.11
                                                                                                                                   G




   2.2    Fadia Gillebaard            24882 Vista Magnifica                                     PayPal Working                     D
                                      Laguna Niguel, CA 92677                                   Capital                            E/F       3.7
                                                                                                                                   G




   2.3    Fadia Gillebaard            24882 Vista Magnifica                                     Citi Cards/Costco                  D
                                      Laguna Niguel, CA 92677                                   Business                           E/F       3.2
                                                                                                                                   G




   2.4    Theodor F.                  24882 Vista Magnifica                                     Jason Smith                        D
          Gillebaard                  Laguna Niguel, CA 92677                                                                      E/F       3.4
                                                                                                                                   G




   2.5    Theodor F.                  24882 Vista Magnifica                                     U.S. Small Business                D
          Gillebaard                  Laguna Niguel, CA 92677                                   Administration                     E/F       3.11
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 2
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         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.6     Theodor F.               24882 Vista Magnifica                               Chase Card Services                D
          Gillebaard               Laguna Niguel, CA 92677                                                                E/F   3.1
                                                                                                                          G




Official Form 206H                                              Schedule H: Your Codebtors                                      Page 2 of 2
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Fill in this information to identify the case:

Debtor name         EZ Pool Products, Inc.

United States Bankruptcy Court for the:    CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                               $100,946.43
      From 1/01/2023 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                               $503,569.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other


      For year before that:                                                               Operating a business                               $778,006.00
      From 1/01/2021 to 12/31/2021
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
    may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.1.    Theodor F. Gillebaard                                2022                             $19,000.00           W-2 Wages
              24882 Vista Magnifica
              Laguna Niguel, CA 92677
              CEO

      4.2.    Fadia Gillebaard                                     2022                             $19,000.00           W-2 Wages
              24882 Vista Magnifica
              Laguna Niguel, CA 92677

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

              Case title                               Nature of case              Court or agency's name and                 Status of case
              Case number                                                          address
      7.1.    Smith v. EZ Pool Products,               Small Claims                Superior Court of California                  Pending
              Inc.                                     Breah of Contract           County of Butte                               On appeal
              22SC00927                                                            1775 Concord Ave.
                                                                                                                                 Concluded
                                                                                   Chico, CA 95928

      7.2.    Economou v. EZ Pool                      Fraud, Breach of            Superior Court of New                         Pending
              Products, Inc.                           Contract, Breach            Jersey                                        On appeal
              MON-L-691-21                             of Warranty,                Law Division - Monmouth
                                                                                                                                 Concluded
                                                       Negligence                  County
                                                                                   71 Monument Street
                                                                                   Freehold, NJ 07728


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.




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          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

              Recipient's name and address            Description of the gifts or contributions                  Dates given                        Value

      9.1.    Aliso Niguel High School                Money
              28000 Wolverine Way
              Aliso Viejo, CA 92656                                                                              2022                          $4,883.00

              Recipients relationship to debtor
              None


      9.2.    St Marina Coptic Orthodox               Money
              Church
              5 Wrigley
              Irvine, CA 92618                                                                                   2023                            $190.00

              Recipients relationship to debtor
              None


Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and            Amount of payments received for the loss                   Dates of loss          Value of property
      how the loss occurred                                                                                                                          lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.




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                Who was paid or who received              If not money, describe any property transferred              Dates                Total amount or
                the transfer?                                                                                                                        value
                Address
      11.1.     Law Office of Lazaro E.
                Fernandez, Inc.
                3600 Lime St., Ste. 326
                Riverside, CA 92501                       Attorney Fees                                                7/15/23                    $3,000.00

                Email or website address
                lef17@pacbell.net

                Who made the payment, if not debtor?




      11.2.     Law Office of Lazaro E.
                Fernandez, Inc.
                3600 Lime St., Ste. 326
                Riverside, CA 92501                       Filing Fee, Cost Retainer                                    7/15/23                      $388.00

                Email or website address
                lef17@pacbell.net

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                             Describe any property transferred                   Dates transfers               Total amount or
                                                                                                              were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

               Who received transfer?                  Description of property transferred or                    Date transfer              Total amount or
               Address                                 payments received or debts paid in exchange               was made                            value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

                Address                                                                                            Dates of occupancy
                                                                                                                   From-To

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?



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Debtor        EZ Pool Products, Inc.                                                             Case number (if known)



           No. Go to Part 9.
           Yes. Fill in the information below.


                Facility name and address               Nature of the business operation, including type of services                If debtor provides meals
                                                        the debtor provides                                                         and housing, number of
                                                                                                                                    patients in debtor’s care

Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and            Last 4 digits of           Type of account or          Date account was                  Last balance
              Address                                   account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred
      18.1.     Chase Bank                              XXXX-8678                     Checking                 April 28, 2023                             $0.00
                1111 Polaris Pkwy                                                     Savings
                Columbus, OH 43240
                                                                                      Money Market
                                                                                      Brokerage
                                                                                      Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own

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21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To



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      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26a.1.        Sean M. Gerald, CPA
                    23046 Avenida de la Carlota, #600
                    Laguna Hills, CA 92653
      26a.2.        Fadia Gillebaard
                    24882 Vista Magnifica
                    Laguna Niguel, CA 92677
      26a.3.        Theodor F. Gillebaard
                    24882 Vista Magnifica
                    Laguna Niguel, CA 92677

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None

      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26b.1.        Sean M. Gerald, CPA
                    23046 Avenida de la Carlota, #600
                    Laguna Hills, CA 92653

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Theodor Gillebaard
                    24882 Vista Magnifica
                    Laguna Niguel, CA 92677
      26c.2.        Sean M. Gerald, CPA
                    23046 Avenida de la Carlota, #600
                    Laguna Hills, CA 92653

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Theodor F. Gillebaard                   24882 Vista Magnifica                               CEO                                       100
                                              Laguna Niguel, CA 92677



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Debtor      EZ Pool Products, Inc.                                                             Case number (if known)




29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.

      Name                                   Address                                             Position and nature of any         Period during which
                                                                                                 interest                           position or interest
                                                                                                                                    was held
      Theodor F. Gillebaard                  24882 Vista Magnifica                               CEO & Director 98%                 5/13/2005 -
                                             Laguna Niguel, CA 92677                                                                Current

      Name                                   Address                                             Position and nature of any         Period during which
                                                                                                 interest                           position or interest
                                                                                                                                    was held
      Fadia Gillebaard                       24882 Vista Magnifica                               CFO & Director / 2%                8/1/2022 - 5/2/2023
                                             Laguna Niguel, CA 92677


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund




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                       EZ Pool Products, Inc.
                       28241 Crown Valley Pkwy, #F212
                       Laguna Niguel, CA 92677


                       Lazaro E. Fernandez
                       Law Office of Lazaro E. Fernandez, Inc.
                       3600 Lime St., Ste. 326
                       Riverside, CA 92501


                       U.S. Trustee (Santa Ana)
                       411 West Fourth Street
                       Santa Ana, CA 92701
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                   Chase Card Services
                   P.O. Box 15298
                   Wilmington, DE 19850-5298


                   Citi Cards/Costco Business
                   P.O. Box 6704
                   Sioux Falls, SD 57104-6704


                   Fadia Gillebaard
                   24882 Vista Magnifica
                   Laguna Niguel, CA 92677


                   Jason Smith
                   31 Wahoo Ave.
                   Oroville, CA 95966


                   Michael J. Deem, Esq.
                   R. C. Shea & Associates
                   P.O. Box 2627
                   Toms River, NJ 08754


                   Nicholas R. Deal
                   Attorney at Law
                   321 D. Street, Suite C
                   Marysville, CA 95901


                   PayPal
                   Swift Financial, LLC
                   3505 Silverside Rd.
                   Wilmington, DE 19810


                   PayPal Working Capital
                   Attn: Executive Escalation
                   P.O. Box 45950
                   Omaha, NE 68145-0950
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                   PayPal, Inc.
                   2211 N. First Street
                   c/o Corporate Legal Dept.
                   San Jose, CA 95131


                   Peter Economou
                   68 Bucks Mill Road
                   Colts Neck, NJ 07722-1619


                   Superior Court of New Jersey
                   Monmouth County Courthouse
                   MON-L-691-21
                   71 Monument Street
                   Freehold, NJ 07728


                   Swift Financial, LLC
                   c/o Amanda Garcia/1505 Corp.
                   CT Corporation System
                   330 N. Brand Blvd.
                   Glendale, CA 91203-2308


                   Theodor F. Gillebaard
                   24882 Vista Magnifica
                   Laguna Niguel, CA 92677


                   U.S. Small Business Administration
                   Attn: District Counsel
                   455 Market St., Suite 600
                   San Francisco, CA 94105


                   WebBank
                   215 S. State Street, Suite 1000
                   Salt Lake City, UT 84111
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Attorney or Party Name, Address, Telephone & FAX Nos., and State Bar No. &         FOR COURT USE ONLY
Email Address
Lazaro E. Fernandez 134430
3600 Lime St., Ste. 326
Riverside, CA 92501
T: 951-684-4474 Fax: F: 951-684-4625
California State Bar Number: 134430 CA
lef17@pacbell.net




     Attorney for:
                                                UNITED STATES BANKRUPTCY COURT
                                                 CENTRAL DISTRICT OF CALIFORNIA

In re:                                                                        CASE NO.:
          EZ Pool Products, Inc.                                              ADVERSARY NO.:
                                                                   Debtor(s), CHAPTER: 7

                                                                  Plaintiff(s),
                                                                                    CORPORATE OWNERSHIP STATEMENT
                                                                                       PURSUANT TO FRBP 1007(a)(1)
                                                                                         and 7007.1, and LBR 1007-4

                                                                                                                   [No hearing]
                                                              Defendant(s).

Pursuant to FRBP 1007(a)(1) and 7007.1, and LBR 1007-4, any corporation, other than a governmental unit, that is a debtor in
a voluntary case or a party to an adversary proceeding or a contested matter shall file this Statement identifying all its parent
corporations and listing any publicly held company, other than a governmental unit, that directly or indirectly own 10% or more
of any class of the corporation’s equity interest, or state that there are no entities to report. This Corporate Ownership
Statement must be filed with the initial pleading filed by a corporate entity in a case or adversary proceeding. A supplemental
statement must promptly be filed upon any change in circumstances that renders this Corporate Ownership Statement
inaccurate.

I,    Theodor F. Gillebaard                                                   , the undersigned in the above-captioned case, hereby declare
                 (Print Name of Attorney or Declarant)
under penalty of perjury under the laws of the United States of America that the following is true and correct:




___________________________________________________________________________
                This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
December 2012                                                                                                F 1007-4.CORP.OWNERSHIP.STMT
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